Case 9:04-cv-00607-JKS-GHL Document1 Filed 05/27/04 Page 1 of 16

UNITED STATES DISTRICT COURT

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NORTHERN DISTRICT OF NEW YORK 0 Ly CV Oo 07
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DETROY LIVINGSTON,
Plaintiff,

PRISONER CIVIL RIGHTS COMPLAINT

-against-— PURSUANT TO 42 U.S.C. §1983.

P. GRIFFIN,correction captain,

Docket ,-Ma
State of New York Department of US. DIS TTT ND. OF N.Y.
Correctional Services(DOCS); F | | FE D
DONALD SELSKY,Director of Special
Housing for DOCS; R. LEE,correction
officer(C.0.); S. HURTEAU,C.O.; MAY 2 7 2004
S. GAWLICKY,C.0O.: LEFRANCE, sergeant
of DOCS; M. FOSTER, C.0.; D. ABAIR, Ls
C.0.; S. SALLS,sergeant of DOCS; Jury Trkel Demeated
J. BOUYEA,C.O. Lawrence K, Baerman, Clerk - Syracuse

NAM / GHL

JURISDICTION

1. This is a civil rights action filed by Plaintiff, Detroy Livingston,

a New York State prisoner. Plaintiff is proceeding pro se and invokes

the jurisdiction of this Court under and by virtue of 28 U.S.C. §§ 1331,
1343 (3) and (4), and 2201, to obtain costs of suit, including reasonable
attorney fees, and for damages suffered by Plaintiff and caused by de-
fendants' violation of his rights as guarnteed in the First, Fifth, Sixth,
Eighth and Fourteenth Amendments to the United States Constitution, and
Federal laws, particularly 42 U.S.C. §1983. Plaintiff further invokes

this Court's State Law Claim pendent jurisdiction to consider his assault

and negligence claims.

VENUE

2. The violation of Plaintiff's rights as alleged herein was committed

within the State of New York, in the Counties of Greene, Franklin,Cayuga

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Case 9:04-cv-00607-JKS-GHL Document 1 Filed 05/27/04 Page 2 of 16

and Albany. Accordingly, venue properly lies in the United States
District Court for the Northern District of New York pursuant to

28 U.S.C. §1391.

DEMAND FOR TRIAL BY JURY

3. Pursuant to the Seventh Amendment to the United States Constitution,
Plaintiff respectfully demand a trial by an impartial jury to be held
in the United States District Court for the Northern District of New

York, located in Syracuse, New York.

PARTIES

4, Plaintiff, Detroy Livingston, is a citizen of the United States

of America and was at all times relevant herein a prisoner of the
State of New York Department of Correctional Services, (herein DOCS)
incarcerated at Coxsackie Correctional Facility (C.F.), located with-
in the County of Greene, at Route 9W., Box 200, Coxsackie, N.Y. 12051;
Upstate C.F., located within County of Franklin, at Bare Hill Road,
Box 2000, Malone, N.Y. 12953; Auburn C.F., located within the County

of Cayuga, at 135 State Street, Box 618, Auburn, N.Y. 12953.

5. Defendant P. Griffin, was at all times relevant herein a correction
captain at Coxsackie C.F. for DOCS as such he was designated as a hear-
ing officer to conduct a Superintendent hearing according to establish-

ed procedural guidelines and Plaintiff's substantive rights.

6. Defendant Donald Selsky, was at all times relevant herein the Direct-

or of Special Housing for DOCS, as such he was responsible for adjudic-

ating Plaintiff's Superintendent hearing appeal.

Case 9:04-cv-00607-JKS-GHL Document 1 Filed 05/27/04 Page 3 of 16

7. Defendant R. Lee, was at all times relevant herein a correction
officer at Upstate C.F. for DOCS, as such he was charged with the
care and control of inmates in a manner consistent with State law

and the Constitution of the United States.

8. Defendant S. Hurteau, was at all times relevant herein a cor-
rection officer at UpstateC.F. for DOCS, as such he was charged
with the care and control of inmates in a manner consistent with

State law and the Constitution of the United States.

9. Defendant S$. Gawlicky, was at all times relevant herein a cor-
rection officer at Auburn C.F. for DOCS, as such she was charged
with the care and control of inmates in a manner consistent with

State law and the Constitution of the United States.

10. Defendant LeFrance, was at all times relevant herein a correc—
tion sergeant at Upste C.F. for DOCS, as such he was charged with
the care and control of inmates in a manner consistent with State
law and the Constitution of the United States, he was also respon-

sible for supervising correction officers of lesser rank.

ll. Defendant M. Foster, was at all times relevant herein a correc-—
tion officer at Upstate C.F. for DOCS, as such he was charged with

the care nad control of inmates in a manner consistent with State

law and the Constitution of the United States.

12. Defendant D. Abair, was at all times relevant herein a correc-
tion officer at Upstate C.F. for DOCS, as such he was charged with
the care and control of inmates in a manner consistent with State

law and the Constitution of the United States.

13. Defendant S. Salls, was at all timesrelevant herein a correc-~

tion sergeant at Upstate C.F. for DOCS, as such he was charged with

3

Case 9:04-cv-00607-JKS-GHL Document1 Filed 05/27/04 Page 4 of 16

the care and control of inmates in amanner consistent with State
law and Constitution of the United States, he was also responsible

for supervising correction officers of lesser rank.

14, Defendant J. Bouyea, was at all times relevant herein a correc-
tion officer at Upstate C.F. for DOCS, as such he was charged with
the care and control of inmates in a manner consistent with State

law and the Constitution of the United States.

15. At all times relevant to this action , the defendants
were employees of the State of New York, acting under the color of

State law.

16. Each of the defendants herein are being sued in their individ-

ual capacity.

17. All facts herein that were grievable was presented to the grie-
vance programs and exhausted to the CORC, which returned a unfavor-

able response.

COUNT ONE

18. On November 27, 2001 Plaintiff was served with a copy of a Tier
III misbehavior report fabricated by c.o. T. Notabartolo to justify

assaulting Plaintiff on November 26, 2001.

19. A Superintendent hearing was commenced on November 30, 2001 by

defendant P. Griffin.

20. On November 30, 2001 Plaintiff informed defendant P. Griffin
that he wanted to call all the c.o's as witnesses that responded

to the incident because he did not know their names.

Case 9:04-cv-00607-JKS-GHL Document1 Filed 05/27/04 Page 5 of 16

21. Defendant P. Griffin failed to call but four of the c.o's that

responded to the incident.

22. There was over ten c.o's that responded to the November 26, 2001

incident.

23. C.O. Keller witnessed part of the incident and he gave defendant
P. Griffin the name of another c.o. that responded to the incident

during a off-the-record testimony which Plaintiff over heard.

24. When Plaintiff requested the c.o. whose name c.o.Keller gave to
defendant P. Griffin to be call as a witness he refused to call him

or disclose the name.

25. Defendant P. Griffin's off-the-record testimony violated Title 7

NYCRR §254.6(b).

26. Defendant P. Griffin denied Plaintiff the injury report of c.o.

T, Notabartolo concerning the November 26, 2001 incident.

27. Defendant P. Griffin denied Plaintiff the institution doctor as

a witness at the hearing.

28. Defendant P. Griffin did not personally ascertain whether in-
mate Shabazz in fact refused to testify at the hearing, and place

his findings on the record.

29. Defendant P. Griffin did not furnish Plaintiff with any of the
forms to explain the refusal of witnesses, refusal to testify, nor

denial of documentary evidence,

30. Defendant P. Griffin refused Plaintiff the Unusual incident re-

port, and accident reports eventhough he promised that he will.

31. Defendant P. Griffin knowningly used a defective tape recorder

Case 9:04-cv-00607-JKS-GHL Document1 Filed 05/27/04 Page 6 of 16

which did not clearly record Plaintiff's objections and conclusions.

32. Defendant P.Griffin found Plaintiff “guilty" of the misbehavior
report and sentenced him to three years punitive confinement, with

toss..of. atl privileges.

FIRST CAUSE OF ACTION

33. The acts and omissions of defendant P.Griffin set forth in pa-
ragraphs 18-32 herein of failing to call witnesses, operated to de-
prive Plaintiff of liberty without procedural and substantive due

process of law in violation of the Sixth and Fourteenth Amendments

to the U.S. Constitution,

SECOND CAUSE OF ACTION

34. Defendant P.Griffin's off-therecord taking of c.o.Keller's tes-
timony operated to deprive Plaintiff of liberty without procedural
and substantive due process of law in violation of the Sixth and

fourteenth Amendments to the U.S. Constitution.

THIRD CAUSE OF ACTION

35. Defendant P.Griffin's denial of forms to explain the refusal
of witnesses, refusal to testify, incident reports, accident reports,

injury reports, operated to deprive Plaintiff of liberty without

procedural and substantive due process of law in violation of Sixth

and fourteenth Amendments to the U.S. Constitution.

FOURTH CAUSE OF ACTION

Case 9:04-cv-00607-JKS-GHL Document1 Filed 05/27/04 Page 7 of 16

36. Defendant P.Griffin's deliberate use of a defective tape recorder
denied Plaintiff of an opportunity to litigate before a neutral and
impartial hearing officer deprived him of liberty without procedural
and substantive due process of law in violation of Sixth and Four-

teenth Amendments to the U.S. Constitution.

SECOND COUNT

37. Plaintiff submitted his appeal of the Superintendent hearing

dated December 25 and 31, 2001 to defendant Donald Selsky.

38. Defendant D. Selsky modified, but failed to take corrective mea-
sures on appeal to remedy the due process violations committed by

defendant P.Griffin during the course of the Superintendent hearing.

FIFTH CAUSE OF ACTION

39. Defendant D. Selsky actions, modifying the Tier III disposition
from three years to one year, but affirming Plaintiff's finding of
guilt notwithstanding the due process violations, is the proximate
cause of Plaintiff's punitive confinement for 365 days, with atten-
dant loss of all privileges, operated to deprive Plaintiff of his
liberty without procedural and substantive due process of law in
violation of the Sixth and Fourteenth Amendments to the U.S. con-

stitution.

THIRD COUNT

40. Defendant R. Lee on the 15th,16th, 17th, 21st, and 29th days of

the month of July of 2002, knowingly, intentionally, and deliberately

Case 9:04-cv-00607-JKS-GHL Document1 Filed 05/27/04 Page 8 of 16

gave Plaintiff a food tray with unknown drugs mixed in the food.

41. Each time Plaintiff ate the food defendant R.Lee gave him the
drugs made him dizzy, lightheaded, disorientated, sleepy, and ren-

dered unconscious.

42. At no time did Plaintiff consent to have drugs planted in his

food by defendant R.Lee, or anyone else.

43. At no time did a doctor authorize drugs to be put in PLaintiff's

food by defendant R.Lee or anyone else.

44, Defendant R.Lee knowingly and deliberately poisoned Plaintiff
food with unknown drugs in retaliation to grievances and complaints

that was filed against him by Plaintiff.

45. Plaintiff complained numerous times about defendant R.Lee poi-

soning his food.
46. Plaintiff had to go as for as filing a felony complaint regar-

ding c.o's poisoning his food for the violation to stop.

47. The acts and omissions of defendant R.Lee caused Plaintiff ser-

ious psychological pain and suffering.

SIXTH CAUSE OF ACTION

48. The acts and omissions of defendant R.Lee as set forth in para-
graphs 40-47 herein operated to violate Plaintiff's rights to be
free from cruel and unusual punishment in violation of the Eighth

and Fourteenth Amendments to the U.S. Constitution.

SEVENTH CAUSE OF ACTION

49, The acts and omissions of defendant R.Lee were in violation of
Case 9:04-cv-00607-JKS-GHL Document1 Filed 05/27/04 Page 9 of 16

the laws of New York State prohibiting assault of another person
by administering substance without consent, pursuant to Penal Law

§120.05(5).

FOURTH COUNT

50. Defendant S.Hurteau on 23rd day of July and 4th day of September
of 2002 intentionally, knowingly, and deliberately gave Plaintiff

food trays in which unknown drugs were mixed into the food.

51. Each time Plaintiff ate the food defendant S.Hurteau gave him
the drugs made him dizzy, lightheaded, disorientated, sleepy and

rendered unconscious.

52. At no time did Plaintiff consent to have drugs planted in his

food by defendant S.Hurteau, or anyone else,

53. At no time did a doctor authorize drugs to be put in Plaintiff's

food by defendant S.Hurteau, or anyone else.

54. Defendant S.Hurteau knowingly, intentionally, and deliberately
poisoned PLaintiff with unknown drugs in retaliation to grievances

and complaints that was filed against him. by Plaintiff.

55. PLaintiff complained numerous times about defendant S.Hurteau

poisoning his food.

56. Plaintiff had to resort to filing a felony complaint regarding

c.o's poisoning his food for the violation to stop.

57. The acts and omissions of defendant S.Hurteau caused Plaintiff

serious psychological pain and suffering.

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Case 9:04-cv-00607-JKS-GHL Document1 Filed 05/27/04 Page 10 of 16

EIGHTH CAUSE OF ACTION

58. The acts and omissions of defendant S.Hurteau as set forth in
paragraph 50-57 herein operated’ to violate Plaintiff's rights to
be free from cruel and unusual punishment in violation of the Eighth

and Fourteenth Amendments to the U.S.Constitution,

NINETH CAUSE OF ACTION

59. The acts and omissions of defendant S.Hurteau were in violation
of the laws of New York State prohibiting assault of another person

by administering substance without consent, pursuant to Penal Law

§120.05(5).

FIFTH COUNT

60. On April 11, 2003 defendant S.Gawlicky wrote a false misbehavior

report accusing Plaintiff of threating to punch her in the face and

disobeying a direct order,

61. Defendant S.Gawlicky fabricated the disciplinary charges in re-
taliation because Plaintiff wrote several complaints on her to the
Auburn Correction Facility Superintendent dated March 31, 2003 and

April 6, 2003, in violation of N.Y.Correction Law §138(5).

62. Plaintiff complained that defendant S.Gawlicky was denying him

an opportunity to go to call-outs to the package room, law library,

and to the yard.

63. Plaintiff was found guilty of threats and sentenced to four months

punitive confinement, with loss of privileges.

10

Case 9:04-cv-00607-JKS-GHL Document 1 Filed 05/27/04 Page 11 of 16

64. During the hearing defendant S.Gawlickygave testimony that she
feared that Plaintiff might reach through the cell bars to assault

her just to have him placed behind a plexi-glass cell.

TENTH CAUSE OF ACTION

65. The acts and omissions of defendant S.Gawlicky as set forth in
paragraphs 60-64 herein operated to violate Plaintiff's rights to

be free from cruel and unusual punishment in violation of the Eighth

and Fourteenth Amendments to the U.S.Constitution.

ELEVENTH CAUSE OF ACTION

66. Defendant S.Gawlicky retaliatory action of fabricating a mis-
behavior report deprived Plaintiff of liberty without procedual and
substantive due process of law in violation of the Fifth and Four-

teenth Amendments to the U.S.Constitution.

TWELFTH CAUSE OF ACTION

67. Defendant S.Gawlicky false testimony specifically cause Plain-

tiff to be placed behind a plexi-glass cell in violation of Sixth

and Fourteenth Amendments to the U.S.Constitution.

SIXTH COUNT

68. On July 21, 2003 when Plaintiff was being transferred out of
Upstate Correction Facility defendant LaFrance tried to force him

to be chained to a person that was clearly a transexual/homosexual.

69. Due to Plaintiff's religious belief he refused to be chained

with the transexual/homosexual.

Case 9:04-cv-00607-JKS-GHL Document1 Filed 05/27/04 Page 12 of 16

70. Plaintiff told defendant LaFrance numerous times that his re-

ligious belief forbid him from linking with and to have contact

with transexual /homosexuals.

71. Leviticus 18:22 thru verse 26 of the Holy Bible prescribes Plain-

tiff's beliefs.

72. The transfer from Upstate Correction Facility is by bus that
take approximately six hours to complete, which mean Plaintiff would

have been seated next to the transexual/homosexual person for six un-

confortable hours.

73. Because of Plaintiff religious stand he was placed back in puni-

tive confinement, and written a bogus misbehavior report by defendant

M.Foster.

74. Defendant M.Foster fabricated misbehavior report stated that plain-

tiff disobeyed a direct order, verbal harassment, and staff direction

for movement.

75. Plaintiff was found guilty at the disciplinary hearing and sen-

tenced to four months punitive confinement with loss of privileges, and

two months recommended loss of good time.

76. The disciplinary hearing and the finding of guilt was dismissed on

administration appeal on September 29, 2003 after PLaintiff completed

the hearing disposition.

THIRTEENTH CAUSE OF ACTION

77. The conduct of omissions of defendant LaFrance as set forth in
paragraphs: 68-76 herein operated to violate Plaintiff's to his free-

dom of religion, and cruel and unusual punishment in violation of the

12

Case 9:04-cv-00607-JKS-GHL Document1 Filed 05/27/04 Page 13 of 16

First and Fourteenth Amendments to the U.S.Constitution.

FOURTEENTH CAUSE OF ACTION

78. The acts and omissions of defendant M.Foster as set forth in
paragraphs 68-76 herein operated to violate Plaintiff's to his free-
dom of religion, liberty without due process, and cruel and unusual

punishment in violation of the First, Eighth and Fourteenth Amendments

to the U.S.Constitution.

SEVENTH COUNT

79. On August 5, 2003 defendant D.Abair during the 3-11 p.m. shift
marked off the Alternative/Religious sign on the cell door, which

indicates that Plaintiff get religious meals.

80. Defendant D.Abair refused to give Plaintiff the religious meals

he was entitled.

81. Because of religious reasons Plaintiff don't eat red meat, so

he had to go hungry when red meat was served.

82. Defendant D.Abair action denied Plaintiff his religious meal

from August 5, 2003 until August 11, 2003.

83. Plaintiff was being denied his religious meals because he stood

up for his religious belief.

FIFTEENTH CAUSE OF ACTION

84. The acts and omissions of defendant D.Abair as set forth in para-

graphs 79-83 herein operated to violate Plaintiff's to his freedom of

Case 9:04-cv-00607-JKS-GHL Document1 Filed 05/27/04 Page 14 of 16

religion, due process and cruel and unusual punishment in violation

of the First, Eighth and Fourteenth Amendments to the U.S.Constitu-

tion.

EIGHTH COUNT

85. On August 13, 2003 defendant S.Salls came to the cell Plaintiff
was locked in and ordered defendant J.Bouyea to change the Altern-

ative/Religious meal tag on the cell door.

86. Defendant J.Bouyea was the steady officer on the gallery since
Plaintiff arrived in Upstate Correction Facility on May 2, 2003 so

he knew Plaintiff ate only the religious meals, and was get only the

religious meals,

87. Defendant J.Bouyea continuously denied Plaintiff his religious

meals until he was moved off that gallery on August 20, 2003.

88. Plaintiff had to go hungry from August 13, 2003 to September 1,

2003 whenever red meat was on the menu because of defendants S.Salls

and J.Bouyea actions.

89. Plaintiff was denied his religious meals because he stood up for

his religious belief.

SIXTEENTH CAUSE OF ACTION

90.The acts and omissions of defendants S.Salls as set forth in para-
graphs 85-89 herein operated to violate Plaintiff's right to free-
dom of religion, due process, and cruel and unusual punishment in vio-

lation of the First, Eight and Fourteenth Amendments to the U.S.Con-

stitution.

14

Case 9:04-cv-00607-JKS-GHL Document1 Filed 05/27/04 Page 15 of 16

SEVENTEENTH CAUSE OF ACTION

91, The acts and omissions of defendant J.Bouyea as set forth in
Paragraphs 85-89 herein operated to violate Plaintiff's rights to
freedom of religion, due process, and cruel and unusual punishment

in violation of the First, Eighth, and Fourteenth Amendments to the

U.S.Constitution,

WHEREFORE, Plaintiff prays this Court issue judgment in his
favor for the following relief:

i. Issue a declaratory judgment, declaring that the
defendants violated Plaintiff's Federal Constitutional and State
statutory rights when they:

a. deprived Plaintiff of his rights to call witness,
at his Superintendent disciplinary proceeding;

b. deprived Plaintiff of his rights to prepare a de-~
fense thereto by denying him documents;

c. @eprived Plaintiff a fair and impartial hearing
by refusing to follow the procedures prescribed by Title 7 NYCRR
Chapter V, subchapter A and B;

d. deprived Plaintiff of forms explaining the re-
fusal of witnesses, refusal to testify;

e. deprived Plaintiff to an unbiase hearing officer
to determine the charges;

f. became aware of the violations and failed to pro-
perly manage subordinate officials, or take other remedial action to
prevent or mitigate the defendants' wrongful conduct;

g. engaged in a scheme or pretextual conduct to cover

up their unlawful behavior;

h. poisoned Plaintiff food with unknown drugs without

15

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Case 9:04-cv-00607-JKS-GHL Document1 Filed 05/27/04 Page 16 of 16

his consent;

i. poisoned Plaintiff food with unknown drugs without a
doctor's consent;
J. wrote a bogus misbehavior report accusing Plaintiff of
threats and disobeying direct order in retaliation to complaints;
k. suborn perjured testimony just to have Plaintiff placed
behind a plexi-glass cell;
1. deprived Plaintiff of his right to freedom of religion;
m. fabricated misbehavior report, and;
n. denied Plaintiff his religious meals;
ii. Declaring that Plaintiff is entitled to reasonable attor-—
ney fees, and the costs associated with prosecuting this action.
iii. Granting Plaintiff compensatory damages against each de-

fendant in the amount of three million dollars ($3,000,000).

iv. Granting Plaintiff punitive damages against each defendant

in the amount of nine million dollars ($9,000,000).

WHEREFORE, Plaintiff pray for such futher and other relief as this

Court may seem just, proper and equitable,

Date: April 22, 2004

The undersigned has read the foregoing civil rights Complaint. The al-
legations hereof are true to the best of deponent's own knowledge.

Respectfully submitted,

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Sword. to before me this MZ eB

[Evday of Lia 2004 Detroy hivings Yon, pro se

LINDA Dusa\ira Correction Facility
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